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       lawsuit (“Wakefield II”), Plaintiff sued Defendants for copyright infringement after
       discovering an eighth infringing copy that Defendants had not disclosed. See Motion at 5;
       Brockland Decl. ¶ 26. Plaintiff agreed to settle Wakefield II based in part on a declaration by
       Olenicoff that all infringing works had been removed from Olen’s property and destroyed.
       See id. As part of the Wakefield II settlement agreement, Plaintiff covenanted and
       represented that he would not file any complaints or lawsuits against Defendants. See Dkt.
       98-28.

               Plaintiff filed this case (“Wakefield III”) after discovering two additional infringing
       sculptures on display at an Olen property in Florida. See Motion at 5; Dkt. 1 (“Complaint”).
       In addition to copyright infringement claims, Plaintiff alleged claims for civil conspiracy,
       fraudulent inducement of the Wakefield II settlement agreement, and civil RICO. See
       Complaint ¶¶ 85-107. After Plaintiff filed Wakefield III, Defendants filed a new case
       (“Wakefield IV”) in state court, alleging that Plaintiff violated the Wakefield II settlement
       agreement by filing Wakefield III and seeking, inter alia, an order enforcing the covenant
       not to sue. See Olen Properties Corp., et al. v. Wakefield, No. 8:22-cv-00928, Dkt. No. 1-2.
       Wakefield IV was removed to the district court, and Judge Carney dismissed the action,
       concluding that Defendants’ claims were compulsory counterclaims in this case. See id.,
       ECF No. 16. With Judge Carney’s leave in this case, Defendants filed amended answers
       with affirmative defenses and counterclaims. See Dkts. 83-85.

                The parties consented to this Court’s jurisdiction on February 2, 2023. See Dkt. 127.
       On April 24, 2023, the parties filed a Stipulation for Settlement. See Dkt. 142. Under the
       terms of their Settlement Agreement, Defendants agreed to pay Plaintiff a lump sum of
       $190,000 and to allow Plaintiff to take possession and ownership rights of the two alleged
       infringing sculptures. See Brockland Decl. ¶ 57, Ex. 3 (“Settlement Agreement”), § III.C &
       III.J. If additional sculptures that are substantially similar to Untitled are later discovered,
       Defendants agree to destroy them and pay Plaintiff $75,000 in damages for each such
       sculpture. See id., § III.L. Plaintiff does not owe any costs or legal fees to Defendants in
       connection with this case. See id., § III.K. Plaintiff, however, is entitled to an award of
       “reasonable attorneys’ fees and costs,” as determined by this Court. See id., § III.B. In
       accordance with the terms of the Settlement Agreement, this motion followed.

                                       II.      LEGAL STANDARD

                As an initial matter, the parties do not agree about whether Plaintiff’s Motion is
       governed by California law or by the Copyright Act. See Motion at 8-9; Opp’n at 19-21.
       Plaintiff filed this Motion based on the terms of the Settlement Agreement, which is
       governed by California Law. See Settlement Agreement, § III.O. Where state law forms the
       basis for a party’s claim to attorneys’ fees, it also governs the court’s analysis of a fee award
       motion. See Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002) (applying
       Washington law to fee motion where motion was based on successful settlement providing

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       for benefits under an employee stock purchase plan governed by Washington law); Lloyd v.
       Navy Fed. Credit Union, No. 17-1280, 2019 WL 2269958, at *13 (S.D. Cal. May 28, 2019)
       (analyzing reasonableness of fee request under California law where request was based on
       settlement agreement governed by California law). Thus, the Court concludes that
       California law controls.

               Under California law, “the fee setting inquiry . . . begins with the ‘lodestar,’ i.e., the
       number of hours reasonably expended multiplied by the reasonable hourly rate.” PLCM
       Group, Inc. v. Drexler, 22 Cal.4th 1084, 1095 (2000). “The reasonable hourly rate is that
       prevailing in the community for similar work.” Id. (citations omitted). “The party seeking
       fees bears the burden of documenting the hours expended in the litigation and must submit
       evidence supporting those hours and the rates claimed.” Welch v. Metro. Life Ins. Co., 480
       F.3d 942, 945-46 (9th Cir. 2007). The lodestar figure may then be adjusted upward or
       downward to account for: “(1) the contingent nature of the fee award, (2) the results
       obtained and the number of people that have benefitted from them, (3) the novelty and
       complexity of the questions involved and the skill displayed in presenting them, and (4) the
       extent to which the nature of the litigation precluded other employment.” Parkinson v.
       Hyundai Motor Am., 796 F. Supp. 2d 1160, 1170 (C.D. Cal. 2010) (citation omitted).

                                            III.    DISCUSSION

       A.       Plaintiff Is Entitled to Attorneys’ Fees, Including Fees Spent on This Motion

               Defendants invite the Court to use its discretion to deny Plaintiff’s request in its
       entirety. See Opp’n at 19-21, 35. The Ninth Circuit has not yet decided whether a court may
       deny all fees and costs based on the excessiveness of the request. See Mendez v. Cnty. of
       San Bernardino, 540 F.3d 1109, 1127 (9th Cir. 2008) (declining to decide issue in context of
       fee award under 42 U.S.C. § 1988), overruled on other grounds by Arizona v. ASARCO
       LLC, 773 F.3d 1050 (9th Cir. 2014). However, California state courts, as well as federal
       courts in other circuits, have held that a court may deny a fee request in its entirety where
       the request is so outrageously excessive that it shocks the conscience of the court. See, e.g.,
       Serrano v. Unruh, 32 Cal.3d 621, 635 (1982); Milton H. Greene Archives, Inc. v. CMG
       Worldwide, Inc., No. 05-2200, 2009 WL 10669361, at *21 (C.D. Cal. 2009) (collecting
       cases).
                Here, Plaintiff’s request is not outrageously excessive. Although Plaintiff’s lodestar
       figure is over $1.3 million, this figure includes work performed over the course of two years,
       including extensive motion practice, discovery, and trial preparation. Accordingly, Plaintiff
       is entitled to some amount of attorneys’ fees.
              In addition, although Defendants argue that “Plaintiff should not be allowed to
       recover fees for seeking fees,” Opp’n at 36, Defendants cite no authority to support this

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       argument. Plaintiff argues that such fees are clearly compensable, relying on Camacho v.
       Bridgeport Financial, Inc., 523 F.3d 973 (9th Cir. 2008). See Reply at 20-21. The Camacho
       court recognized that in federal “statutory fee cases, federal courts . . . have uniformly held
       that time spent in establishing the entitlement to and amount of the fee is compensable.”
       523 F.3d at 981. Because Plaintiff’s fee motion is based on a settlement agreement governed
       by California law, Camacho is not directly applicable. Nevertheless, it appears that fees
       incurred litigating a fee motion are generally compensable under California law as well. See,
       e.g., Nagesh v. BMW of N. Am., LLC, No. 18-00839, 2021 WL 1060357, at *4 (E.D. Cal.
       Mar. 19, 2021) (in fee request under Song-Beverly Act, finding hours billed litigating fee
       motion were compensable); Graham v. DaimlerChrysler Corp., 34 Cal. 4th 553, 579 (2004),
       as modified (Jan. 12, 2005) (in attorney fee award under private attorney general doctrine,
       noting that fees incurred litigating fee award may be enhanced in certain circumstances).
               Accordingly, the Court considers Plaintiffs’ time spent on the instant Motion as part
       of the lodestar figure. See Reply at 21 (noting an additional $36,420 in fees not requested in
       the initial Motion); Dkt. 149-1 (“Brockland Reply Decl.”); Dkt. 149-3 (“O’Brien Reply
       Decl.”). However, because no evidence was submitted in support of the hours worked by
       Business Litigation Group, P.C., after June 22, 2023, the Court declines to award the
       additional $3,150 of fees and $18.80 of costs claimed by Bernstein. See Dkt. 149-5
       (“Bernstein Reply Decl.”) ¶ 13.

       B.       The Total Hours Billed Are Not Entirely Reasonable2

               While Plaintiff is entitled to attorneys’ fees, the Court finds that certain of the hours
       billed are not reasonable and subtracts them from the lodestar figure, as discussed below.

                1.    Inter/Intra-Office Communication and Block Billing

              Defendants object to a total of 227.73 hours on the ground that the time entries show
       excessive inter/intra-office conferencing and communications. See Opp’n at 31; Sax Decl.
       at 86-116. The Ninth Circuit has “recognized that ‘the participation of more than one
       attorney does not necessarily constitute an unnecessary duplication of effort.’” McGrath v.
       County of Nevada, 67 F.3d 248, 256 (9th Cir. 1995) (quoting Kim v. Fujikawa, 871 F.2d
       1427, 1435 n.9 (9th Cir. 1989)). However, courts in this circuit often reduce fee awards for
       time spent on internal communications. See Durham v. FCA US LLC, No. 17-0596, 2020


                Defendants do not challenge Plaintiff’s counsel’s hourly rates, which the Court
                2

       finds to be reasonable.

                Defendants object to 228 hours, but Plaintiff has withdrawn 0.3 of those hours
                3

       (billed by T. Chen on May 17, 2023) in response to Defendants’ clerical work objections.
       See Reply at 19.
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               With respect to the inter/intra-office communication time entries from the remaining
       two firms (129.8 hours),4 the Court uses a blended rate of $750 based on the billing rates of
       the three main timekeepers at those firms (Brockland, Miller, and Bernstein) and applies a
       40% reduction to those hours (52 hours, $39,000 in total). Accordingly, for the reasons
       stated above, the Court reduces the fee award by a total of $87,500.

                2.   Billing Not Directly Related to Defendants

              Defendants argue that Plaintiff should not recover 15.4 hours of attorney and
       paralegal time spent on work related to John Liang, an unserved defendant who was
       dismissed from this action; and 9.1 hours of attorney and paralegal time spent preparing
       engagement agreements, discussing litigation funding, and preparing counsel’s pro hac vice
       motions. See Opp’n at 33; Sax Decl. at 130-33. Plaintiff argues that these hours are
       recoverable because they were “inextricably intertwined” with compensable matters and
       related to the handling of this case. See Reply at 19 (citing Beyond Blond Prods., LLC v.
       Heldman, No. 20-5581, 2021 WL 4860378, at *4 (C.D. Cal. Mar. 22, 2021)). The Court
       agrees with Plaintiff with respect to time spent on work related to John Liang but disagrees
       with respect to counsel’s other tasks.

               In Beyond Blond, the district court determined that the party requesting fees could
       recover for time spent researching issues relating to their anti-SLAPP motion even where
       those issues did not end up being included in the motion, finding that such work was
       “inextricably intertwined with an anti-SLAPP motion.” 2021 WL 4860378, at *4. Here,
       Plaintiff contends that Liang was the broker who facilitated Defendants’ acquisition of the
       infringing statutes from China. See Reply at 19. Given the alleged connection between
       Liang and Defendants, Plaintiff’s time spent attempting to serve Liang was sufficiently
       intertwined with the rest of the litigation, and Plaintiff may recover those fees and costs.

               However, as to Plaintiff’s counsel’s time spent discussing engagement and funding
       and preparing pro hac vice applications, the Court finds that these are not recoverable. See
       Tarango v. City of Bakersfield, No. 16-0099, 2017 WL 5564917, at *15 (E.D. Cal. Nov. 20,
       2017) (“[D]istrict courts in the Ninth Circuit do not often award attorney's fees . . .
       associated with pro hac vice admission.”) (collecting cases). Accordingly, the Court deducts
       the following hours from the fee award: 2 hours by Brockland and 2 hours by O’Brien
       ($3,050 in total).5

              As to Brockland’s additional time entries for fees incurred after filing the Motion,
                4

       the Court has reviewed these and determined that no reductions for inter/intra-office
       communications are necessary. See Brockland Reply Decl., Ex. 1.

               Because O’Brien’s block-billed entries also include various other compensable tasks,
                5

       the Court deducts only a portion of the 6.6 hours to which Defendants object.
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       including civil RICO claims in this action, Plaintiff’s counsel at the hearing identified
       persuasive reasons for pursuing a RICO claim. Moreover, the Court’s review of the docket
       and the time entries show that minimal time was spent litigating the RICO claims. See, e.g.,
       Bernstein Decl., Ex. 1.

             However, not all of Plaintiff’s litigation activity was reasonable. Plaintiff opposed (1)
       Defendant’s Motion for Leave to File Amended Answers (Dkt. 79); and (2) Defendants’
       Motion for Extension of Time to File Response to Plaintiff’s Motion for Partial Summary
       Judgment (Dkt. 102). The Court agrees with Defendants that these oppositions were
       unnecessary.

               Motion for Leave to File Amended Answers: When Judge Carney granted Plaintiff’s
       motion to dismiss Wakefield IV, the court indicated that dismissal was without prejudice to
       Defendants moving to amend their Wakefield III answer to raise the Wakefield IV claims as
       counterclaims. See Dkt. 83 at 2 (citation omitted). Plaintiff nonetheless opposed
       Defendants’ motion for leave to amend, arguing that the motion was factually unsupported,
       that Defendants had “unduly delayed their counterclaim in bad faith and for a dilatory
       motive,” and that Defendants were pursuing an improper and futile counterclaim. See Dkt.
       80. Judge Carney found these arguments unpersuasive. See Dkt. 83. In particular, Judge
       Carney explained that the policy favoring amendment should be applied with “extreme
       liberality,” highlighted that Defendants’ motion was timely under the scheduling order, and
       rejected Plaintiff’s futility argument because such arguments “are better resolved through a
       challenge to the merits of the proposed counterclaim after it is filed rather than through a
       challenge to the filing of the proposed counterclaim in the first place.” See id. at 3-4
       (citations omitted). Given Judge Carney’s clear indication that Defendants could pursue
       counterclaims in Wakefield III, and given his rejection of Plaintiff’s arguments, the Court
       concludes that Plaintiff’s opposition was unwarranted.

               Motion for Extension of Time: Defendants sought a three-week extension to file their
       opposition to Plaintiff’s partial summary judgment motion because discovery was ongoing
       and because Defendants’ local counsel was occupied with trial in another case. See Dkt.
       102. Plaintiff opposed, arguing that Defendants had not provided supporting declarations or
       other evidence and had not shown why they could not file their opposition in the time
       allotted. See Dkt. 104. In granting Defendants’ motion, Judge Carney observed that
       Plaintiff’s motion and evidence totaled 1,228 pages in length, that under the Local Rules,
       Defendants’ opposition to Plaintiff’s motion would be due just one week after Plaintiff filed
       the motion, and that several key depositions had just taken place. See Dkt. 105 at 1.
       Considering the circumstances of the case at that time, the Court concludes it was not
       reasonable for Plaintiff to oppose Defendants’ brief extension request.

             Based on the time entries, the Court estimates that Plaintiff’s counsel billed
       approximately $17,000 opposing the Motion for Leave to File Amended Answers and

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       approximately $9,000 opposing the Motion for Extension of Time. See Brockland Decl., Ex.
       4; Bernstein Decl. Ex. 1; O’Brien Decl. Ex. A; see also Sax Decl. at 34-37. The Court
       therefore reduces the fee award by the approximate amounts billed for these opposition
       filings ($26,000 in total).

                5.   Costs

               Plaintiff seeks $28,016.54 in total costs. See Motion at 16; Bernstein Reply Decl. ¶
       13. As noted above, the Court declines to award $18.80 of additional costs incurred after
       Plaintiff filed the Motion because no evidence has been submitted in support of those costs.
       In addition, Defendants object to Plaintiff’s request for costs in connection with travel
       expenses, research, and discovery, and courier fees, arguing that they are beyond the scope
       of taxable costs under Federal Rule of Civil Procedure 54, Local Rule 54-3, of 28 U.S.C. §
       1980. See Opp’n at 34-35. Plaintiff argues that he can recover all reasonable costs based on
       the language of the Settlement Agreement. See Reply at 21.

               Under California law, “[a] contract must be so interpreted as to give effect to the
       mutual intention of the parties as it existed at the time of contracting.” Cal. Civ. Code §
       1636. “A court must first look to the plain meaning of the agreement’s language.” Buckley
       v. Terhune, 441 F.3d 688, 695 (9th Cir. 2006) (citing Cal. Civ. Code §§ 1638, 1644).
       However, where an agreement uses technical words, such “words are to be interpreted as
       usually understood by persons in the profession or business to which they relate, unless
       clearly used in a different sense.” Cal. Civ. Code § 1645.

               Here, the Settlement Agreement provides that Plaintiff may recover “reasonable
       attorneys’ fees and costs” from Defendants. Settlement Agreement, § III.B. In the context of
       federal litigation, the term “costs” most commonly refers to taxable costs as defined under
       28 U.S.C. § 1920 (and, where applicable, § 1821). See Rimini St., Inc., v. Oracle USA, Inc.,
       139 S. Ct. 873, 877 (2019) (referring to §§ 1821 and 1920 as the “general ‘costs’ statute” and
       explaining that these sections “in essence define what the term ‘costs’ encompasses” in
       federal statutes providing for an award of costs); see also Fed. R. Civ. P. 54; L.R. 54-3.
       Moreover, Plaintiff would not be entitled to such costs if he had prevailed on either his
       copyright infringement claims or his RICO claims. See Rimini, 139 S. Ct. at 878
       (interpreting “full costs” under 17 U.S.C. § 5050 to be limited to costs under 28 U.S.C. §§
       1821 and 1920, stating rule that a “statute awarding ‘costs’ will not be construed as
       authorizing an award of litigation expenses beyond the six categories listed in §§ 1821 and
       1920, absent an explicit statutory instruction to that effect”); Ally Bank v. Karakasevic, No.
       11-0896, 2016 WL 7971245, at *3 (N.D. Cal. Dec. 19, 2016), report and recommendation
       adopted sub nom. Fid. Nat'l Title Ins. Co. v. Castle, 2017 WL 11628063 (N.D. Cal. Jan. 24,
       2017) (“As the prevailing parties in this action, Plaintiffs may recover attorneys' fees
       pursuant to RICO (see 18 U.S.C. § 1964(c)) and costs pursuant to 28 U.S.C. § 1920 and Civ.
       L.R. 54-3.”).

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              Accordingly, the Court interprets the phrase “reasonable . . . costs” in the Settlement
       Agreement to refer to taxable costs under § 1920. Of Plaintiff’s claimed costs, only the
       following are compensable as taxable costs: $402 in filing fees, $939.96 in fees for service of
       process, $3,256.35 in deposition costs ($4,598.31 in total).6 The Court therefore deducts all
       other costs ($23,418.23 in total) from the cost award.

       C.       The Court Declines to Adjust the Fee Award Upward or Downward

              The Court has discretion to adjust the lodestar amount based on (1) the contingent
       nature of the fee award, (2) the results obtained, (3) the novelty and complexity of the issues
       involved and counsel’s skill displayed, and (4) the extent to which the nature of the litigation
       precluded other employment. See Parkinson, 796 F. Supp. 2d at 1170. A multiplier should
       be used to adjust the lodestar amount only in “rare and exceptional cases . . . [where] the
       lodestar amount is unreasonably low or unreasonably high.” Van Gerwen v. Guarantee
       Mut. Life Co., 214 F.3d 1041, 1045 (9th Cir. 2000) (internal quotation marks omitted).
              Here, Plaintiff argues that a multiplier of 1.5 is appropriate. See Motion at 13-16.
       Defendants argue that (i) Plaintiff is not entitled to a multiplier, and (ii) the fee award
       should be reduced by 75% based on Plaintiff’s partial success. See Opp’n at 26-29, 35; see
       also Dkt. 150 (collecting cases involving downward reduction based on limited success of
       claims). The Court concludes that neither a multiplier nor a downward adjustment is
       warranted.
               First, the nature of this case does not warrant a multiplier. “The purpose of . . .
       multiplier[] for contingent risk is to bring the financial incentives for attorneys enforcing
       important constitutional rights . . . into line with incentives they have to undertake claims
       for which they are paid on a fee-for-services basis.” Ketchum v. Moses, 24 Cal.4th 1122,
       1132 (2001). Although Plaintiff’s counsel took on some risk in pursuing this claim, much of
       that risk was based on the Wakefield II Settlement Agreement—a contract that Plaintiff
       entered into while represented by Brockland. See Brockland Decl. ¶ 26. Finally, while
       Plaintiff argues that there was risk inherent in this litigation based on Defendants’
       demonstrated ability to “drag out this litigation for years,” Motion at 15, Plaintiff’s fee
       award adequately compensates Plaintiff’s counsel for their time spent on motion practice.
               Second, while the terms of the Settlement Agreement reflect a degree of success for
       Plaintiff, it is not such a high degree of success as to warrant an upward multiplier. In
       general, in cases where a plaintiff obtains “only partial or limited success, the product of

                Pro hac vice and various related fees are not taxable. See L.R. 54-3.1. Likewise,
                6

       costs for videotaping or recording are not taxable unless recording of the deposition by video
       or audio means was ordered by the Court before the taking of the deposition. See L.R. 54-
       3.5.
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       hours reasonably expended on the litigation as a whole times a reasonable hourly rate may
       be an excessive amount.” Hensley v. Eckerhart, 461 U.S. 424, 436 (1983). In that case, the
       court has discretion to “attempt to identify specific hours that should be eliminated, or it
       may simply reduce the award” based on the degree of success. Id. at 436-37. However,
       “[w]here a plaintiff has obtained excellent results, his attorney should recover a fully
       compensatory fee.” Id. at 435. “In these circumstances the fee award should not be reduced
       simply because the plaintiff failed to prevail on every contention raised in the lawsuit.” Id.
                Here, the terms of the Settlement Agreement are less favorable to Plaintiff than a
       judgment in his favor on each of his claims may have been. For example, the payment
       Plaintiff obtained ($95,000 per alleged infringing sculpture) does not reflect the treble
       damages sought in his RICO claim and is less than the statutory damages he sought
       ($150,000 per sculpture). See Dkt. 1 at 26. However, Plaintiff recovered nearly two-thirds of
       the amount he sought in statutory damages for each alleged infringing sculpture, took
       ownership of the alleged infringing sculptures, secured a remedy for any other substantially
       similar sculpture discovered on Defendants’ property in the future, and established his
       entitlement to reasonable attorneys’ fees and costs. See Settlement Agreement §§ III.B,
       III.C, III.J, III.L. In contrast, Plaintiff owes Defendants nothing in connection with this
       litigation. See id., § III.K. Given this, the Court concludes that the fee award set forth in this
       Order is proportional to the degree of success Plaintiff obtained in this case.
               Third, this case did not present novel or difficult issues to justify a multiplier. While
       Plaintiff highlights that he is one of few plaintiffs to successfully argue entitlement to
       attorneys’ fees for pre-registration infringement under an exception to Section 412 of the
       Copyright Act, see Motion at 14, the filings in this case do not suggest that this issue was
       extensively litigated. See, e.g., Dkt. 113 at 20-23 (devoting less than four pages of summary
       judgment opposition brief to statutory damages issue).
               Fourth, Plaintiff has not shown that the nature of this case precluded counsel from
       engaging in other employment. While Plaintiff’s counsel certainly devoted significant time
       to this matter, the lodestar figure, which includes above-average billing rates for Brockland
       and Miller, the two attorneys who billed the greatest number of hours on this case, is
       sufficient to compensate counsel for their time spent. See Brockland Decl. ¶¶ 87, 89.
       Accordingly, apart from the deductions outlined above, the Court declines to make further
       adjustments to the fee award.

                                           IV.     CONCLUSION

              Plaintiff’s Motion is GRANTED. Applying the lodestar method using the reduced
       attorney hours and costs discussed above, the Court finds that Plaintiff is entitled to a total
       award of $1,175,979.27. Defendants shall pay this award in accordance with the terms of
       the Settlement Agreement.


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